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IN THE UNITED STATES DISTRICT COURT nggggl“hfwnijl
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION §§HL??? gm j;@c

 

 

UNITED STATES OF AMERICA
Plaintiff,

Criminal No. QZ:-JZF§JZ?-Ml

(30-Day Continuance)

 

 

 

 

v\/\,/\_z\_¢~_/\_/\_/\_/~_/V-__,`_,`_/`_,__,`_,VV~__,

Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the June, 2005,
criminal rotation calendar, but is now RESET for report at §;QQ
a.m. on Fridav, June 24, 2005, with trial to take place on the
July, 2005 rotation calendar With the time excluded under the
Speedy Trial Act through July 15, 2005. Agreed in open court at

report date this 27th day of May, 2005.

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with mile 55 and/or az(b) mch on ,Q s§/ 'G §

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so ORDERED this 27th day of May, 2005.

QQWQQQ

JON PHIPPS MCCALLA
UNI ED STATES DIS'I`RICT JUDGE

Ks§~i/stant United Stf\tes Attorney

 

 

 

COO[L»-f’or Defendant ( s )

 

   

UNITED sTATE DISTRIC COURT - WESTER D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case 2:04-CR-20473 Was distributed by faX, mail, or direct printing on
May 31, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

